Case
  Case:
     18-16860
        1:21-cv-03750
                 Doc 41Document
                         Filed 07/01/21
                                 #: 1-4 Filed:
                                           Entered
                                               07/14/21
                                                    07/01/21
                                                        Page17:12:31
                                                             1 of 5 PageID
                                                                       Desc#:14
                                                                             Main
                           Document       Page 1 of 5
Case
  Case:
     18-16860
        1:21-cv-03750
                 Doc 41Document
                         Filed 07/01/21
                                 #: 1-4 Filed:
                                           Entered
                                               07/14/21
                                                    07/01/21
                                                        Page17:12:31
                                                             2 of 5 PageID
                                                                       Desc#:15
                                                                             Main
                           Document       Page 2 of 5
Case
  Case:
     18-16860
        1:21-cv-03750
                 Doc 41Document
                         Filed 07/01/21
                                 #: 1-4 Filed:
                                           Entered
                                               07/14/21
                                                    07/01/21
                                                        Page17:12:31
                                                             3 of 5 PageID
                                                                       Desc#:16
                                                                             Main
                           Document       Page 3 of 5
Case
  Case:
     18-16860
        1:21-cv-03750
                 Doc 41Document
                         Filed 07/01/21
                                 #: 1-4 Filed:
                                           Entered
                                               07/14/21
                                                    07/01/21
                                                        Page17:12:31
                                                             4 of 5 PageID
                                                                       Desc#:17
                                                                             Main
                           Document       Page 4 of 5
Case
  Case:
     18-16860
        1:21-cv-03750
                 Doc 41Document
                         Filed 07/01/21
                                 #: 1-4 Filed:
                                           Entered
                                               07/14/21
                                                    07/01/21
                                                        Page17:12:31
                                                             5 of 5 PageID
                                                                       Desc#:18
                                                                             Main
                           Document       Page 5 of 5
